Case: 5:22-cr-00711-BYP Doc #: 53 Filed: 12/04/24 1 of 3. PageID #: 343




 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )     CASE NO. 5:22-CR-711
                Plaintiff,                        )
                                                  )
                v.                                )     JUDGE BENITA Y. PEARSON
                                                  )
 DAJUANE MARTEZ COOKS,                            )
                                                  )
                Defendant.                        )     ORDER



        This matter is before the Court upon Magistrate Judge Carmen E. Henderson’s Report

 and Recommendation (“R&R”) that the Court accept Defendant Dajuane Martez Cooks’

 (“Defendant”) plea of guilty and enter a finding of guilty against Defendant. ECF No. 50.

        On December 15, 2022, the Government filed an Indictment against Defendant alleging

 violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(8), 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), 21

 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18 U.S.C. § 924(c)(1)(A)(i), felon in possession of

 firearms and ammunition, possession with intent to distribute fentanyl and fluorofentanyl,

 possession with intent to distribute cocaine, and possession of firearms in furtherance of a drug

 trafficking crime. ECF No. 10. Thereafter, Defendant notified the Court of Defendant’s intent

 to enter a plea of guilty during the Final Pretrial Conference conducted on October 24, 2024.

 The Court issued an Order referring the matter to the United States Magistrate Judge for the

 purpose of receiving Defendant’s guilty plea. ECF No. 48.

        On October 25, 2024, Magistrate Judge Henderson held a hearing during which
Case: 5:22-cr-00711-BYP Doc #: 53 Filed: 12/04/24 2 of 3. PageID #: 344




 (5:22-CR-711)


 Defendant consented to the order of referral (ECF No. 49) and entered pleas of guilty to Counts

 1, 2, 3, and 4 of the Indictment. Magistrate Judge Henderson received Defendant’s guilty pleas,

 and issued a Report recommending that this Court accept Defendant Dajuane Martez Cooks’

 pleas and enter a finding of guilty. ECF No. 50.

         The time limitation to file objections to the Magistrate Judge’s Report and

 Recommendation has expired and neither party has filed objections or requested an extension of

 time.

         Fed. R. Crim. P. 11(b) states:

         Before the court accepts a plea of guilty or nolo contendere, the defendant may be
         placed under oath, and the court must address the defendant personally in open
         court. During this address, the court must inform the defendant of, and determine
         that the defendant understands, the following: (A) the government’s right, in a
         prosecution for perjury or false statement, to use against the defendant any
         statement that the defendant gives under oath; (B) the right to plead not guilty, or
         having already so pleaded, to persist in that plea; (C) the right to a jury trial; (D)
         the right to be represented by counsel - and if necessary have the court appoint
         counsel - at trial and at every other stage of the proceeding; (E) the right at trial to
         confront and cross-examine adverse witnesses, to be protected from compelled
         self-incrimination, to testify and present evidence, and to compel the attendance of
         witnesses; (F) the defendant’s waiver of these trial rights if the court accepts a
         plea of guilty or nolo contendere; (G) the nature of each charge to which the
         defendant is pleading; (H) any maximum possible penalty, including
         imprisonment, fine, and term of supervised release; (I) any mandatory minimum
         penalty; (J) any applicable forfeiture; (K) the court’s authority to order restitution;
         (L) the court’s obligation to impose a special assessment; (M) in determining a
         sentence, the court’s obligation to calculate the applicable sentencing-guideline
         range and to consider that range, possible departures under the Sentencing
         Guidelines, and other sentencing factors under 18 U.S.C. §3553(a); and (N) the
         terms of any plea-agreement provision waiving the right to appeal or to
         collaterally attack the sentence.

         The undersigned has reviewed the transcript and the Magistrate Judge’s R&R and finds,


                                           -2-
Case: 5:22-cr-00711-BYP Doc #: 53 Filed: 12/04/24 3 of 3. PageID #: 345




 (5:22-CR-711)


 that in her careful and thorough proceeding, Magistrate Judge Henderson satisfied the

 requirements of Fed. R. Crim. P. 11 and the United States Constitution. Defendant was placed

 under oath and determined to be competent to enter a plea of guilty. Defendant was made aware

 of the charges and consequences of conviction and his rights and waiver thereof. Magistrate

 Judge Henderson also correctly determined that Defendant had consented to proceed before the

 magistrate judge and tendered his pleas of guilty knowingly, intelligently and voluntarily.

 Furthermore, the magistrate judge also correctly found that there was an adequate factual basis

 for the pleas.

         Upon de novo review of the record, the Report and Recommendation is adopted.

 Therefore, Defendant Dajuane Martez Cooks is adjudged guilty of Counts 1, 2, 3, and 4 of the

 Indictment, felon in possession of firearms and ammunition, possession with intent to distribute

 fentanyl and fluorofentanyl, possession with intent to distribute cocaine, and possession of

 firearms in furtherance of a drug trafficking crime, in violation of 18 U.S.C. §§ 922(g)(1) and

 924(a)(8), 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), and 18

 U.S.C. § 924(c)(1)(A)(i), respectively.



         IT IS SO ORDERED.


    December 4, 2024                             /s/ Benita Y. Pearson
 Date                                            Benita Y. Pearson
                                                 United States District Judge




                                           -3-
